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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND
        Chambers of                                                       101 West Lombard Street
GEORGE L. RUSSELL, III                                                    Baltimore, Maryland 21201
 United States District Judge                                                   410-962-4055

                                         December 3, 2021

MEMORANDUM TO COUNSEL RE:                             XL Specialty Ins. Co. v. Bighorn Const. &
                                                      Reclamation, LLC, et al.
                                                      Civil Action No. GLR-21-3068

Dear Counsel:

       Pending before the Court is Plaintiff XL Specialty Insurance Company’s (“XL”) Emergent
Motion for Temporary and Preliminary Injunctions (ECF No. 2). Counsel for XL is directed to
contact counsel for Defendants Bighorn Construction and Reclamation, LLC, Bridgelink
Engineering, LLC, Bridgelink Commodities, LLC, Bridgelink Development, LLC, Bridgelink
Renewable Energy Investments, LLC, Intermountain Electric Service, Inc., Bighorn Investments
and Properties, LLC, Cole W. Johnson, Cord H. Johnson, and Cassie J. Hamilton to consult with
one another and:
                 (1) attempt to arrange a briefing schedule on the pending Motion;
                 (2) determine the need for and scope of any necessary expedited
                 discovery;
                 (3) determine whether the parties anticipate reaching any
                 stipulations regarding the presentation of evidence or prevention of
                 any alleged irreparable harm;
                 (4) schedule the submission of proposed findings of fact and
                 conclusions of law in both PDF and/or Word formats; and
                 (5) determine whether the parties wish to be referred to a United
                 States Magistrate Judge for the purpose of engaging in a mediation.
       Counsel should submit a status report addressing the five points outlined above no later
than Tuesday, December 7, 2021. Upon submission of the status report, the parties shall contact
chambers to schedule a teleconference to discuss the points outlined above to take place on
Wednesday, December 8, 2021. Counsel for XL shall initiate the teleconference once it is
scheduled.
       Despite the informal nature of this memorandum, it shall constitute an Order of the Court,
and the Clerk is directed to docket it accordingly.

                                               Very truly yours,


                                                         /s/
                                               George L. Russell, III
                                               United States District Judge
